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                                TAB 7
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                                      June 23, 2021

   NO. X06-UWY-CV-18-6046436S                  )   SUPERIOR COURT
                                               )
   ERICA LAFFERTY, ET AL,                      )   COMPLEX LITIGATION DOCKET
                                               )
   vs.                                         )   AT WATERBURY
                                               )
   ALEX EMRIC JONES, ET AL,                    )   JUNE 2 3 , 2 0 21
                                               )
                                               )
                                               )
   NO. X-06- UWY-CVlS-6046437-S                )   SUPERIOR COURT
                                               )
   WILLIAM SHERLACH,                           )   COMPLEX LITIGATION DOCKET
                                               )
   vs.                                         )   AT WATERBURY
                                               )
   ALEX EMRIC JONES, ET AL.                    )   JUNE 2 3 , 2 0 21
                                               )
                                               )
                                               )
   NO. X06-UWY-CV-18-6046438S                  )   SUPERIOR COURT
                                               )
   WILLIAM SHERLACH, ET AL.,                   )   COMPLEX LITIGATION DOCKET
                                               )
   vs.                                         )   AT WATERBURY
                                               )
   ALEX EMRIC JONES, ET AL.                    )   JUNE 23, 2021


                                     CONFIDENTIAL

                          ORAL AND VIDEOTAPED DEPOSITION OF

                                 MICHEAL ZIMMERMANN

                                     JUNE 23, 2021




          ORAL AND VIDEOTAPED DEPOSITION OF MICHEAL ZIMMERMANN,

   produced as a witness at the instance of the PLAINTIFF, and

   duly sworn, was taken in the above-styled and -numbered cause

   on JUNE 23, 2021, from 10:45 a.rn. to 11:41 a.m., before


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 1   Rosalind Dennis, Notary in and for the State of Texas, reported

 2   by machine shorthand, appearing remotely from Dallas, Texas,

 3   pursuant to the Federal Rules of Civil Procedure and the

 4   provisions stated on the record or attached hereto.

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                                      June 23, 2021

 1                               A P P E A R A N C E S

 2

 3   FOR THE PLAINTIFFS:

 4        CHRISTOPHER M. MATTEI, ESQ.
          MATTHEWS. BLUMENTHAL, ESQ.
 5        KOSKOFF KOSKOFF & BIEDER, PC
          350 Fairfield Avenue
 6        Bridgeport, Connecticut 06604
          Cmattei@koskoff.com
 7        mblumenthal@koskoff.com
          (203) 336-4421
 8

 9   FOR THE DEFENDANTS:

10        JAY MARSHALL WOLMAN, ESQ.
          RANDAZZA LEGAL GROUP
11        100 Pearl Street
          14th Floor
12        Hartford, Connecticut 06103
          jmw@randazza.com
13         (702) 420-2001

14
     ALSO PRESENT:
15        Joel Raguso - Videographer

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 1   received by Infowars Health, LLC?

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 4        Q.    Does Infowars Health, LLC have any employees?

 5       A.     It does not.
 6        Q.    Has it ever had any employees?

 7       A.     It has not.
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17        Q.    Has it ever had any office space?

18       A.     It has not.
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21        Q.    Has Infowars Health, LLC ever had any contracts with
22   any other person or entity?

23       A.     It has not.
24        Q.    Has -- apart from receiving money through the bank
25   account that you mentioned from Youngevity, has


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 1   Infowars Health, LLC ever engaged in a business transaction?

 2          A.    The only business it conducts is with Youngevity .

 3          Q.    And the only -- is - - withdrawn.

 4                      Has it ever conducted any business, includi ng
 5   with Youngevity, other than through that bank account you

 6   mentioned?

 7                      MR. WOLMAN :         Objection.

 8          A.    Not to the knowledge of the company.

 9          Q.     (BY MR. BLUMENTHAL)            And other than receiving money
10   in that bank account, what other transactions or business

11   relationship does Infowars Health, LLC have with Youngevity?

12          A.    That was the extent of its business activities.

13          Q.    And has Infowars Health, LLC ever had any business

14   activities other than receiving money from Youngevity into

15   this        in the bank account that you mentioned?
16          A.    It has not.
17          Q.    Has Infowars Health, LLC ever paid money to anyone?

18          A.    It has not.
19          Q.    Has it ever -- well, withdrawn.

20                      MR. WOLMAN:          I'm going to object to that last
21   one as being beyond the scope of the noticed topics.

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 6                      MR. WOLMAN:         Objection.     Beyond the scope.

 7        Q.     (BY MR . BLUMENTHAL)            I'm sorry .   Was that a yes?

 8       A.     Yes.

 9        Q.    Okay.       Who owns Infowars Health, LLC?

10       A.     Alex Jones is the sole owner and managing member of

11   member-managed LLC.

12        Q.    Okay.       Does Infowars Health, LLC own any part of any

13   other entity?

14       A.     It does not.

15        Q.    And Alex Jones has complete control over

16   Infowars Health, LLC?

17                      MR . WOLMAN:        Objection.

18       A.     That is correct.

19        Q.     (BY MR. BLUMENTHAL)             He has control and complete

20   control over its cost in business practice?

21                        MR. WOLMAN:       Objection.

22       A.     That is correct.

23        Q.     (BY MR. BLUMENTHAL) And if Alex Jones wanted to do

24   anything with Infowars Health, LLC, there is nobody who could

25   tell him no; fair to say?


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                                      June 23, 2021

 1   NO. X06-UWY-CV-18-6046436S                  SUPERIOR COURT

     ERICA LAFFERTY, ET AL,                      COMPLEX LITIGATION DOCKET

     vs.                                         AT WATERBURY

     ALEX EMRIC JONES, ET AL,                    JUNE 23, 2021



     NO. X-06- UWY-CVlS-6046437-S                SUPERIOR COURT

     WILLIAM SHERLACH,                           COMPLEX LITIGATION DOCKET

     vs.                                         AT WATERBURY

     ALEX EMRIC JONES, ET AL.                    JUNE 23, 2021



     NO. X06-UWY-CV-18-6046438S                  SUPERIOR COURT

     WILLIAM SHERLACH, ET AL.,                   COMPLEX LITIGATION DOCKET

     vs.                                         AT WATERBURY

     ALEX EMRIC JONES, ET AL.           JUNE 23, 2021
15                      REPORTER'S CERTIFICATION

16                     DEPOSITION OF MICHEAL ZIMMERMANN

17                                  JUNE 23, 2021

18

19         I, Rosalind Dennis, Notary in and for the State of Texas,

20   hereby certify to the following:

21         That the witness, MICHEAL ZIMMERMANN, was duly sworn by

22   the officer and that the transcript of the oral deposition is a

23   true record of the testimony given by the witness;

24         That the original deposition was delivered to

25   MR. BLUMENTHAL.


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 1        That the amount of time used by each party at the

 2   deposition is as follows:

 3   MR. BLUMENTHAL       ..... 00 HOUR (S) : 48 MINUTE (S)
     MR. WOLMAN           ..... 00 HOUR(S) :00 MINUTE(S)
 4

 5        That pursuant to information given to the deposition

 6   officer at the time said testimony was taken, the following

 7   includes counsel for all parties of record:

 8   Mr. Blumenthal                            Attorney for the Plaintiff.

 9   Mr . Wolman                               Attorney for the Defendant.

10        I further certify that I am neither counsel for, related

11   to, nor employed by any of the parties or attorneys in the

12   action in which this proceeding was taken, and further that I

13   am not financially or otherwise interested in the outcome of

14   the action .

15        Certified to by me this 5th day of July, 2021.

16

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                                       ~j)~
18                                   ROSALIND DENNIS
                                     Notary in and for the
19                                   State of Texas
                                     Notary: 129704774
20                                   My Commission Expires: 10/8/2022
                                     US LEGAL SUPPORT
21                                   8144 Walnut Hill Lane
                                     Suite 120
22                                   Dallas, Texas 75231
                                     214-741-6001
23                                   214-741-6821 (FAX)
                                     Firm Registration No. 343
24

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